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                  Exhibit B
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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

GO PRO CONSTRUCTION, LLC,

                        Plaintiff/Counter-Defendant,            Civil Action No. 1:22-cv-01643-RCL

           v.

VALSTS NEKUSTAMIE IPASUMI,

                        Defendant/Counter-Plaintiff.

                AFFIDAVIT OF ATTORNEYS’ FEES AND VERIFIED STATEMENT

           I, Michael A. Schollaert, state that I am over the age of 18 years, have personal

knowledge of the facts set forth herein, and am competent to testify to those facts, as follows:

           1.       I am an attorney admitted to practice before the United States District Court for

the District of Columbia. I was admitted to this Court on November 6, 2017.1 I am currently a

Shareholder at the law firm of Baker, Donelson, Bearman, Caldwell & Berkowitz, PC in

Baltimore, Maryland.

           2.       Zachary S. Gilreath was admitted to practice before the United States District

Court for the District of Columbia on June 7, 2021.2 He is currently an Associate at the law firm

of Baker, Donelson, Bearman, Caldwell & Berkowitz, PC in Baltimore, Maryland.

           3.       Mr. Gilreath and I (collectively, “Undersigned”) serve as counsel of record to

Defendant/Counter-Plaintiff Valsts Nekustamie Ipasumi (“VNI”) in this matter.

           4.       I make this Verified Statement pursuant to the Court’s January 31, 2024 Order

and in support of VNI’s Petition for Attorneys’ Fees and Statement of Costs.

           5.       Attached hereto as Exhibit 1 is a summary of the attorneys’ fees incurred by VNI

through February 1, 2024.              Exhibit 1 also includes the back-up documentation, including

1
    I am also admitted to practice by the Bar of the State of Maryland since December 15, 2004.
2
    Mr. Gilreath has also been admitted to practice in Maryland since December 11, 2018.
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invoices, in support of the fees. The back-up documentation contains detailed descriptions of the

work performed, broken down by hours or fractions thereof on each task. Undersigned’s and

other timekeepers’ hourly rate information is also included.

        6.      At the rates billed and the time described in Exhibit 1, the attorneys’ fees and

costs claimed by VNI through February 1, 2024 is $32,401.03. In my experience, I believe that

amount to be a fair and reasonable amount of attorneys’ fees for the tasks described herein and

set forth in Exhibit 1.

        7.      The rates set forth in Exhibit 1 reflected Undersigned’s customary fees and are

consistent with attorneys performing similar legal services in the field of construction law,

including matters in Washington, DC. The fees charged in this matter were fixed, not contingent.

        8.      Based on my experience, the customary fee prevailing for legal services similar to

those rendered in this matter ranges from $425.00 per hour to $650.00 per hour. Also based on

my experience, the customary fee prevailing in Washington, DC for legal services similar to

those rendered in this matter ranges from $425.00 per hour to $650.00 per hour.

        9.      In further support of its Petition, it should be noted that the amount of attorneys’ fees

requested in Exhibit 1 was driven by Plaintiff/Counter-Defendant Go Pro Construction, LLC’s

multiple failures to abide by its discovery obligations under the Federal Rules of Civil Procedure,

the Local Rules of this Court, and the August 21st Order, the November 9th Order, and the

December 15th Order.

        10.     Specifically, Plaintiff/Counter-Defendant’s conduct led to the filing of VNI’s June

20, 2023 Motion to Compel and related pleadings; VNI’s October 3, 2023 Motion for Sanctions,

related pleadings, and oral argument; the July 6, 2023 deposition of Go Pro’s corporate designee,

Sameh Elrahimy; and the January 29, 2024 deposition of Mr. Elrahimy.



                                                   2
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       11.    I am listed as a 2023 leading construction lawyer in Maryland by Chambers USA

and has also been named in Maryland Super Lawyers since 2009 and listed in The Best Lawyers

in America®, Construction Law category from 2014 – 2024.

       12.    Mr. Gilreath is listed in the 2024 edition of Best Lawyers: Ones to Watch in

America for Litigation - Construction.

       I declare under penalty of perjury that the foregoing is true and correct.



DATED: February 9, 2024                              Respectfully submitted,

                                                     /s/ Michael S. Schollaert
                                                     Michael S. Schollaert (Bar ID: MD0054)
                                                     Zachary S. Gilreath (Bar ID: MDMD0137)
                                                     BAKER, DONELSON, BEARMAN, CALDWELL
                                                     & BERKOWITZ, P.C.
                                                     100 Light Street, 19th Floor
                                                     Baltimore, MD 21202
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                                                     Counsel for Valsts Nekustamie Ipasumi




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